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                       UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                                Dallas Division
UNION ASSET MANAGEMENT HOLDING
AG, Individually and On Behalf of
All Others Similarly Situated,
Plaintiff
v.
                                         Civil Action No.
FLUOR CORPORATION, DAVID T. SEATON,
CARLOS M. HERNANDEZ, BRUCE A. STANSKI,
D. MICHAEL STEUERT, and ROBIN K. CHOPRA,
Defendant
                        CERTIFICATE OF INTERESTED PERSONS
                               (This form also satisfies Fed. R. Civ. P. 7.1)

Pursuant to Fed. R. Civ. P. 7.1 and LR 3.1(c), LR 3.2(e), LR 7.4, LR 81.1(a)(4)(D), and LR 81.2,
Lewis T. LeClair
McKool Smith PC
300 Crescent Court, Suite 1500, Dallas, Texas 75201

provides the following information:
       For a nongovernmental corporate party, the name(s) of its parent corporation and any
publicly held corporation that owns 10% or more of its stock (if none, state "None"):
*Please separate names with a comma. Only text visible within box will print.
Plaintiff Union Asset Management Holding AG ("Union") is owned by DZ Bank AG, with a
stake of 72.32%, and VR GbR, with a stake of 24.25%.




       A complete list of all persons, associations of persons, firms, partnerships, corporations,
guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal entities that are
financially interested in the outcome of the case:
*Please separate names with a comma. Only text visible within box will print.
Aside from the parties to this action, Union is not aware, at this time, of any such persons or
entities having a financial interest in or other interest which could be substantially affected by
the outcome of this particular case.
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                                                              Date:
                                                                                   2/28/2020
                                                              Signature:
                                                                                   /s/ Lewis T. LeClair
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NOTE: To electronically file this document, you will find the event in our Case Management (CM/ECF) system, under Civil/Other
Documents/Certificate of Interested Persons
